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                EXHIBIT A
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Ramesh Gidumal M.D.
Clinical Associate Professor
Department of Orthopedic Surgery
E-Mail Fracturemd@gmail.com

                                                                    October 9, 2021


CLAIMANT:      Myrna Lack
INCIDENT DATE: October 27, 2019

RECORDS REVIEWED: I reviewed the medical records from Burke Rehabilitation Hospital, AR
MC City Campus, East Post Rd. Medical Services, White Plains Hospital. I also reviewed the
Summons and the records from Exceptional Medical Transportation. I also reviewed the films pre-
and post op as well as a videotape of her falling.

HISTORY: The history was obtained from the medical records. The plaintiff is an 88-year-old
female who fractured her hip.

SUMMARY OF TREATMENT RECEIVED:

10/27/19        ARMC. ED documentation: HPI: patient presents with left hip injury and hip pain.
The onset was prior to arrival. Physical examination: skin: warm and dry. Musculoskeletal: lower
extremity left lateral hip tenderness range of motion limited restricted by pain.

10/28/19        East Post Road Medical Services. Brought in by ambulance from Atlantic care
hospital for evaluation left hip pain status post mechanical fall on marble floor yesterday around 10
AM. Per patient she was in Atlantic City Casino when she slipped and fell directly onto her left hip.
Patient was taken to a local hospital where she had her blood work and left hip x-rays remarkable
fracture. Patient takes baby aspirin. Physical examination extremities: left hip tenderness, positive
deformity, limited range of motion due to pain, palpable pulse negative calf tenderness negative
edema negative deformity.

10/28/19        White Plains Hospital.
   • Triage Note: patient brought in by ambulance from Atlantic City status post hip fracture due
       to fall at Harrah’s casino. X-ray showed a left hip fracture.
   • History and physical: 86-year-old female with history of hypertension and hyperlipidemia
       brought in by ambulance from Atlantic City hospital for evaluation of left hip pain status post
       mechanical fall on marble floor yesterday around 10 AM. Physical examination extremities:
       left hip tenderness, positive deformity, limited range of motion due to pain, positive palpable
       pulse. Negative calf tenderness. Negative edema negative deformity.
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   •   Ortho consult: 86-year-old female was in a casino in Atlantic City yesterday when she had a
       slip and fall and was unable to stand and ambulate to the left hip pain. Patient was taken to a
       local hospital where an x-ray was done and shows left femoral neck fracture. Patient denies
       feeling dizzy or lightheaded prior to her fall.

10/29/19        White Plains Hospital.
   • The patient was a casino in Atlantic City 3 days ago when she fell injuring her left hip. She
       had immediate pain and inability to ambulate. She was brought to an emergency room where
       x-rays showed a fracture. She wished to be treated White Plains hospital and was transferred.
       The patient is a previous independent community ambulating. Extremities: left lower
       extremity shortened and externally rotated. There is pain with attempted range of motion of
       the left hip. She is actively dorsiflexion her ankle. Assessment: displace left femoral neck
       fracture.
   • Postop diagnosis: displaced left femoral neck fracture. Procedure: left hip bipolar
       hemiarthroplasty.

10/28/19-10/31/19      White Plains hospital. Acute left hip fracture status post mechanical fall,
hypertensive emergency. History present illness: found to have acute left femoral fracture. Patient
apparently fell while in Atlantic City, found to have left femoral neck fracture and transferred to
White Plains hospital for management at patient’s request. Hospital course: patient underwent left hip
bipolar hemiarthroplasty on 10/29/19. She’s allowed weight bearing as tolerated. On admission, the
patient systolic BP was 190. Patient is now clinically stable to be discharged to rehab.

10/29/19       Burke Rehabilitation Hospital. 86-year-old female at the casino in Atlantic City when
she had mechanical slip and fall on marble floor, directly onto her left hip. She was taken to local
hospital group in for left hip fracture and was transferred to White Plains hospital for further
management/surgical repair.

10/31/19       Burke rehabilitation Hospital. Inpatient admission.

11/1/19         Burke rehabilitation Hospital. Physical therapy note: goal 1: ambulation patient will
ambulate 100 feet with modified independence. Goal 2: patient will ambulate 20 and 50 feet with
rolling walker.

SUMMARY OF DIAGNOSTIC TESTING:

10/27/19       ARMC. AP pelvis and left hip. Impression: left femoral neck fracture with mild varus
angulation of the distal fracture fragment.

10/29/19      White Plains hospital. One view left hip. 2 views of the left hip reveal a hip
replacement with soft-tissue air and soft-tissue staples.

OPINION:

The opinions expressed in this report are based on the medical records provided to me and my
physical examination of the plaintiff. As more information becomes available, I reserve the right to
amend my opinion. The opinions expressed in this report assume that the history as provided by the
plaintiff is correct.

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Ms. Lack sustained a sub capital hip fracture and for that fractured underwent a hemiarthroplasty.
According to the medical records she had an uncomplicated postoperative course.

She was transferred to a rehabilitation facility for ambulation training with the immediate short-term
goal of being able to walk with a rolling walker.

A review of the medical records reveals no evidence of direct trauma to the area of the hip. There is
no documentation of any ecchymosis, bruising, hematoma or swelling.

I reviewed a videotape of her falling. There did not appear to be a trip. It appeared that her hip broke
and she fell. This is consistent with the osteoporosis present on the films and the lack of direct trauma
in the region of her greater trochanter/hip.

In conclusion, it is my opinion within a reasonable degree of medical certainty that based on the
medical evidence as well as the videotape Ms. Lack fractured her hip and consequently fell and did
not fall and fractured her hip.

Based on the medical records there is no evidence that Ms. Lack will require any future surgical
procedure on her hip.

The examination was performed on the plaintiff for an independent medical evaluation. No doctor-
patient relationship exists or is implied in this examination.

I, Ramesh Gidumal, M.D., being a physician duly license to practice medicine in the state of New
York, pursuant to CPLR section 2106, hereby affirms under the penalties of perjury that the
statements contained herein are true and accurate. I am not a party to the action. I declare under
penalties of perjury that the information contained within this document was prepared and it is the
work product of the undersigned and is true to the best of my knowledge and information.


                                                                     Yours truly,




                                                                     RAMESH GIDUMAL M.D.




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                                                Ramesh Gidumal M.D.
                                              Clinical Associate Professor
                                 Department of Orthopedic Surgery, NYU Medical Center
                                               Chief, Orthopedic Surgery
                                      Manhattan Veterans Administration Hospital

                                                                         November 16, 2021
CLAIMANT:        Myrna Lack
INCIDENT DATE:   October 27, 2019
EXAMINATION DATE: November 15, 2021

RECORDS REVIEWED: I reviewed the medical records from Burke Rehabilitation Hospital, AR MC City Campus,
East Post Rd. Medical Services, White Plains Hospital. I also reviewed the Summons and the records from Exceptional
Medical Transportation. I also reviewed the films pre and post op as well as a videotape of her falling.

HISTORY: The history was obtained from the medical records. The plaintiff is an 88-year-old female who fractured her
left hip.

SUMMARY OF TREATMENT RECEIVED:

10/27/19 ARMC. ED documentation: HPI: patient presents with left hip injury and hip pain. The onset was prior to
arrival. Physical examination: skin: warm and dry. Musculoskeletal: lower extremity left lateral hip tenderness range of
motion limited restricted by pain.

10/28/19 East Post Road Medical Services. Brought in by ambulance from Atlantic care hospital for evaluation left hip
pain status post mechanical fall on marble floor yesterday around 10 AM. Per patient she was in Atlantic City Casino
when she slipped and fell directly onto her left hip. Patient was taken to a local hospital where she had her blood work
and left hip x-rays remarkable fracture. Patient takes baby aspirin. Physical examination extremities: left hip tenderness,
positive deformity, limited range of motion due to pain, palpable pulse negative calf tenderness negative edema negative
deformity.

10/28/19 White Plains Hospital.
    • Triage Note: patient brought in by ambulance from Atlantic City status post hip fracture due to fall at Harrah’s
        casino. X-ray showed a left hip fracture.
    • History and physical: 86-year-old female with history of hypertension and hyperlipidemia brought in by
        ambulance from Atlantic City hospital for evaluation of left hip pain status post mechanical fall on marble floor
        yesterday around 10 AM. Physical examination extremities:left hip tenderness, positive deformity, limited range
        of motion due to pain, positive palpable pulse. Negative calf tenderness. Negative edema negative deformity.
    • Ortho consult: 86-year-old female was in a casino in Atlantic City yesterday when she had a slip and fall and
        was unable to stand and ambulate to the left hip pain. Patient was taken to a local hospital where an x-ray was
        done and shows left femoral neck fracture. Patient denies feeling dizzy or lightheaded prior to her fall.

10/29/19 White Plains Hospital.
    • The patient was a casino in Atlantic City 3 days ago when she fell injuring her left hip. She had immediate pain
        and inability to ambulate. She was brought to an emergency room where x-rays showed a fracture. She wished to
        be treated White Plains hospital and was transferred. The patient is a previous independent community
        ambulating. Extremities: left lower extremity shortened and externally rotated. There is pain with attempted
        range of motion of the left hip. She is actively dorsiflexion her ankle. Assessment: displace left femoral neck
        fracture.

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    •    Postop diagnosis: displaced left femoral neck fracture. Procedure: left hip bipolar hemiarthroplasty.

10/28/19-10/31/19           White Plains hospital. Acute left hip fracture status post mechanical fall, hypertensive
emergency. History present illness: found to have acute left femoral fracture. Patient apparently fell while in Atlantic
City, found to have left femoral neck fracture and transferred to White Plains hospital for management at patient’s
request. Hospital course: patient underwent left hip bipolar hemiarthroplasty on 10/29/19. She’s allowed weight bearing
as tolerated. On admission, the patient systolic BP was 190. Patient is now clinically stable to be discharged to rehab.

10/29/19          Burke Rehabilitation Hospital. 86-year-old female at the casino in Atlantic City when she had
mechanical slip and fall on marble floor, directly onto her left hip. She was taken to local hospital group in for left hip
fracture and was transferred to White Plains hospital for further management/surgical repair. 10/31/19 Burke
rehabilitation Hospital. Inpatient admission.

11/1/19          Burke rehabilitation Hospital. Physical therapy note: goal 1: ambulation patient will ambulate 100 feet
with modified independence. Goal 2: patient will ambulate 20 and 50 feet with rolling walker.

SUMMARY OF DIAGNOSTIC TESTING:

10/27/19            ARMC. AP pelvis and left hip. Impression: left femoral neck fracture with mild varus angulation of the
distal fracture fragment.

10/29/19           White Plains hospital. One view left hip. 2 views of the left hip reveal a hip replacement with soft-tissue
air and soft-tissue staples.

PHYSICAL EXAMINATION:

A physical examination was performed on November 15, 2021. She was accompanied by a representative of her law firm.
The examination 15 minutes

Ms. Lack was instructed that if any maneuver caused pain or discomfort to notify me. The plaintiff was also instructed not
to attempt any maneuver the plaintiff did not feel capable of performing or had been told by any of their physicians not to
perform.

                                                             HIP

She was walking without a limp but was using a cane. Her leg lengths were equal at 105 cm bilaterally. She had
subjective complaints of left-sided groin pain but no swelling was appreciated. She had decreased strength with straight
leg raising on the left when compared to the right. She had no lower back pain present. Her straight leg-raising test was
negative. She had a well-healed 14 cm lateral scar on the left hip. She had no pain with hip external rotation nor pain with
internal rotation. The hip range of motion was flexion to 90° bilateral (normal 100°). Abduction was also symmetric at
90°. Her internal rotation/ external rotation were 30°/45° on the right and 15°/30° on the left (normal 40°/50°). She had
marked swelling of both ankles symmetrically. Her tibialis anterior and Achilles tendon were 5+ and bilaterally.
Sensation was normal bilateral.

A goniometer was used to measure the range of motion. The range of normal values was based on a variety of studies
including but not limited to the American Association of Orthopedic Surgery, New York State Workers Compensation
Board Guidelines, and the AMA guidelines 5th edition. The range of motion of the examined body parts were performed
by the plaintiff. This is a subjective maneuver on the part of the plaintiff. All measurements of the range of motion were
performed with the examiner using a hand-held goniometer. The measurement itself is, therefore, an objective
measurement of the plaintiff’s subjective efforts.

                                                         OPINION:

The opinions expressed in this report are based on the medical records provided to me and my physical examination of
the plaintiff. As more information becomes available, I reserve the right to amend my opinion. The opinions expressed in
this report assume that the history as provided by the plaintiff is correct.



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Ms. Lack sustained a subcapital hip fracture and for that fractured underwent a hemiarthroplasty. According to the
medical records she had an uncomplicated postoperative course.

She was transferred to a rehabilitation facility for ambulation training with the immediate short-term goal of being able to
walk with a rolling walker.

A review of the medical records reveals no evidence of direct trauma to the area of the hip. There is no documentation of
any ecchymosis, bruising, hematoma or swelling.

I reviewed a videotape of her falling. There did not appear to be a trip. It appeared that her hip broke and she fell. This is
consistent with the osteoporosis present on the films and the lack of direct trauma in the region of her greater
trochanter/hip.

Based on the medical records there is no evidence that Ms. Lack will require any future surgical procedure on her hip.

The opinions expressed in my report of October 2021 have not changed following her physical examination. The
examination was performed on the plaintiff for an independent medical evaluation. No doctor patient relationship exists
or is implied in this examination

In conclusion, it is my opinion within a reasonable degree of medical certainty that based on the medical evidence as well
as the videotape Ms. Lack fractured her hip and consequently fell and did not fall and fractured her hip

I, Ramesh Gidumal, M.D., being a physician duly license to practice medicine in the state of New York, pursuant to
CPLR section 2106, hereby affirms under the penalties of perjury that the statements contained herein are true and
accurate. I am not a party to the action. I declare under penalties of perjury that the information contained within this
document was prepared and it is the work product of the undersigned and is true to the best of my knowledge and
information.


                                                                                    Yours truly,




                                                                                    RAMESH GIDUMAL M.D.




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